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                                        EXHIBIT LIST

Date: September 12, 2018
                                           Bankruptcy Case No. 16-08959-JMC-7
                                           Adversary Proceeding No. 17-50184

PLAINTIFFS Arthur and Mary Elston, by Counsel Penny L. Carey, CAREY LAW OFFICE:

Exh                       Description                       Admitted     Not    Admitted
                                                                       Admitted over Obj.
1      Contract dated June 26, 2015, between Energy
       Secure Solutions and the Plaintiffs (Attached to
       Plaintiffs’ Complaint as Exhibit A.)
2      Complaint filed by the Plaintiffs against Energy
       Secure Solutions in the Boone Superior Court 2 on
       March 29, 2016. (Attached to Plaintiffs’ Complaint
       as Exhibit B).
3      2009 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001690-
       001727).
4      2010 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001690-
       001727).
5      2011 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001769-
       001799).
6      2012 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001769-
       001799).
7      2013 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001423-
       001463).
8      2014 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001464-
       001511).
9      2015 1040, U.S. Individual Income Tax Return and
       Indiana Full-Year Resident Income Tax Return, IT-
       40 for Defendant and Spouse. (Butner 001512-
       001575).
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10    2016 1040, U.S. Individual Income Tax Return and
      Indiana Full-Year Resident Income Tax Return, IT-
      40 for Defendant and Spouse. (Butner 001843-
      001890).
11    2009 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001891-001926).
12    2010 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001927-001959).
13    2011 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001961-1966).
14    2012 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001997-002034).
15    2013 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001576-001614).
16    2014 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001615-001652).
17    2015 1120S, U.S. Income Tax Return for an S
      Corporation and Indiana Form IT-20A-S
      Corporation Tax Return for Energy Secure
      Solutions, Inc. (Butner 001615-001652).
18    Photo copy of business card for Defendant. (Butner
      000187)
19    Statement detailing payments made from the bank
      account located at PNC for Energy Secure Solutions,
      Inc, to pay Defendant’s personal liabilities/expenses
      by Defendant. (Butner 000150).
20    Security Agreement between Steven Butner and
      Camp Wright Investments, LLC dated March
      19,2014. (Butner 000027-000035).
21    Security Agreement between Energy Secure
      Solutions, Inc. and Camp Wright Investments, LLC
      dated Marcy 19, 2014 and purportedly signed by
      Steven Butner as President of Energy Secure



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      Solutions, Inc. and by Dr. Gary Wright for Camp
      Wright Investments, LLC. (Butner 000037-000045).
22    Agreement to Recapitalize Corporation dated March
      19, 2014. (Butner 000047-000049).
23    Incorporation, Dissolution, Business Entity Report
      and Change of Address documentation for Energy
      Secure Solutions, Inc.
24    Photo copy of check #9069 (front and back) dated
      July 9, 2015 to Energy Secure Solutions in the
      amount of Fifteen Thousand Dollars and Zero Cents
      ($15,000).




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                                       EXHIBIT LIST

Date: September 12, 2018
                                          Bankruptcy Case No. 16-08959-JMC-7
                                          Adversary Proceeding No. 17-50184

DEFENDANT Steven Paul Butner, by Counsel Thomas E. Mixdorf and John C. Cannizzaro,

ICE MILLER LLP:

Exh                      Description                       Admitted     Not    Admitted
                                                                      Admitted over Obj.
A      ESS Payments for Office Space and Trucks
       (Butner000002)
B      Invoice for Murphy USA Fuel Purchases 5/15/15
       (Butner000003)
C      Customer List showing Cost of Goods, Cost of
       Labor, and Balances (Butner000005)
D      PNC Bank Register for ESS for 1/1/15 through
       8/21/15 (Butner000006-16)
E      UCC-1 Financing Statements (Butner000019-21)
F      Real Estate Mortgage for $170,000 dated 3/19/14
       (Butner000023-25)
G      Security Agreement between Steven Butner and
       Camp Wright Investments, LLC dated 3/19/14
       (Butner000027-35)
H      Security Agreement between ESS and Camp Wright
       Investments, LLC dated 3/19/14 (Butner000037-45)
I      Agreement to Recapitalize Corporation dated
       3/19/14 (Butner000047-49)
J      Note for $170,000 between ESS and Camp Wright
       Investments, LLC with Guaranty by Steven and
       Christina Butner with Interest and Amortization
       Schedule (Butner000051-56)
K      Promissory Note for $40,000 between Steven Butner
       and Camp Wright Investments, LLC listing
       collateral (Butner000058)
L      Promissory Note for $11,000 between Steven Butner
       and Camp Wright Investments, LLC listing
       collateral (Butner000060)
M      ESS Debt Obligations as of August 5, 2015, with
       Loan Amortization Schedule for $170,000 Note with
       payments, late penalties and interest due and
       accounting of all known ESS debts (Butner000062-
       66)



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N     Email dated 8/5/15 from customer Armstrong to
      Camp Wright (Butner000080)
O     Email dated 8/7/15 from customer McPherson to
      Camp Wright (Butner000081)
P     Diary Notes regarding ESS dated 6/18/13-1/7/14
      (Butner000188-273)
Q     List of weekly Accomplishments regarding ESS
      dated 6/18/13-1/2/14 (Butner000274-314)
R     Craig Stephens’ calendar for months June 2013-
      January 2014 (Butner000325-333)
S     ESS Check No. 2722 dated 7/9/15 (Butner000435)
T     ESS Check No. 2662 dated 1/23/15 (Butner000566)
U     Steven Butner’s 2014 Form W-2 (Butner001472)
V     Steven Butner’s 2015 Form W-2 (Butner001520)
W     Plaintiffs’ Responses to Defendant's First Set of
      Requests for Admission to Plaintiffs, 4/18/18
X     Plaintiffs’ Response to Defendant's First Set of
      Interrogatories to Plaintiffs, 4/18/18
Y     Plaintiffs’ Response to Defendant's First Requests
      for Production of Documents to Plaintiffs, 4/18/18
Z     Elstons’ Check No. 9069 to ESS for $15,000 deposit
      dated 7/9/15
AA    ESS Draft Invoice No. 3976 to Art Elston for
      $45,000 dated 6/26/15 (Ex. A to Complaint)
BB    ESS Invoice No. 3976 to Art Elston for $30,000
      6/26/15 (Ex. A to Complaint)
CC    Complaint filed 3/29/16 by Elstons in Boone County
      Superior Court, Cause No. 06D02-1603-CC-00044
      (Ex. B to Complaint)
DD    Default Judgment Entry dated 5/31/16 in Boone
      County Superior Court, Cause No. 06D02-1603-CC-
      00044 (Ex. B to Complaint)




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